Case 1:22-cv-11378-RGS Document 227-36 Filed 02/21/24 Page 1 of 7




             EXHIBIT 36
Case 1:22-cv-11378-RGS Document 227-36 Filed 02/21/24 Page 2 of 7




         EXHIBIT “G”
               Case 1:22-cv-11378-RGS Document 227-36 Filed 02/21/24 Page 3 of 7


Troilo, Stefano

From:                            Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent:                            Wednesday, November 8, 2023 8:00 AM
To:                              Kasaraneni, Karthik; Adams, Wendy K.
Cc:                              WH_Moderna_Lit; lbromberg@mccarter.com; ebelt@mccarter.com;
                                 wproctor@mccarter.com; Selby, Thomas; Fisher, Stanley; Kayali, Kathryn; Liu, Michael;
                                 Ghosh, Shayon; Tavares, Julie; Anderson, Derrick; Bernal Anderson, Haylee;
                                 Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
                                 Wexler, Bruce M.; Dittmann, Eric W.; Park, Young J.; Kung, Simon; Minniti, Carl; Meuth,
                                 Ryan; COVIDPatentPfizer; 'BioNTech-Moderna-PH@paulhastings.com';
                                 'APodoll@wc.com'
Subject:                         [EXT] RE: Moderna v. Pfizer and BioNTech, 22-cv-11378--Correspondence




  --- External Email ---


Counsel:

We plan to do so.

Best,
Annaleigh

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Tuesday, November 7, 2023 6:23 PM
To: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>; Adams, Wendy K. <wendyadams@paulhastings.com>;
McMahon, Liz <Liz.McMahon@wilmerhale.com>
Cc: WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence

EXTERNAL SENDER


Counsel,

Thank you for confirming that you will supplement your privilege log to include the requested redac ons. Can you
please do so by the end of this week?

Thank you,

                                                           1
                                                                                                                                                                        Case 1:22-cv-11378-RGS Document 227-36 Filed 02/21/24 Page 4 of 7

Karthik

From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Thursday, November 2, 2023 3:01 PM
To: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>; Adams, Wendy K. <wendyadams@paulhastings.com>;
McMahon, Liz <Liz.McMahon@wilmerhale.com>
Cc: WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M.
<brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young J.
<youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; Minniti, Carl
<carlminniti@paulhastings.com>; Meuth, Ryan <ryanmeuth@paulhastings.com>; COVIDPatentPfizer
<COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐PH@paulhastings.com'; 'APodoll@wc.com'
Subject: [EXT] RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence
Counsel: While we disagree that defendants have shown good cause for logging of these redac ons, we will provide a supplement log doing so. We expect that Pfizer and BioNTech will do the same if asked. Best, Annaleigh From: Kasaraneni, Karthik
ZjQcmQRYFpfptBannerStart




                         --- External Email ---

ZjQcmQRYFpfptBannerEnd




Counsel:

While we disagree that defendants have shown good cause for logging of these redac ons, we will provide a
supplement log doing so. We expect that Pfizer and BioNTech will do the same if asked.

Best,
Annaleigh

From: Kasaraneni, Karthik <karthikkasaraneni@paulhastings.com>
Sent: Wednesday, November 1, 2023 11:54 AM
To: Adams, Wendy K. <wendyadams@paulhastings.com>; Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>;
McMahon, Liz <Liz.McMahon@wilmerhale.com>
Cc: WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; brucewexler@paulhastings.com;
ericdittmann@paulhastings.com; Park, Young J. <youngpark@paulhastings.com>; Kung, Simon
<simonkung@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence

EXTERNAL SENDER


Counsel,

We write regarding the redac ons iden fied in our October 16 le er from Anderson to Prussia and addressed in your
October 23 le er from Cur s to Anderson.

                                                                                                                                                                                                                                                      2
                Case 1:22-cv-11378-RGS Document 227-36 Filed 02/21/24 Page 5 of 7

In Plain ﬀs’ Third Supplemental Privilege Log received Monday night, Plain ﬀs declined to include any of the 89
documents that we iden fied in our October 16 le er among the 3197 entries. Our review of your privilege log
con nues, but we reiterate our limited request that Plain ﬀs add these 89 entries so that Defendants might understand
the individual claims of privilege and have a basis for determining whether they are jus fied.

Paragraph 1(f)(iii) of the ESI Order provides that, “[u]pon a showing of good cause (e.g., that a file’s sender, recipients, or
nature of the asserted privilege cannot be ascertained), the Receiving Party may request that the Producing Party log a
redacted document.” D.I. 65. Our October 16 le er made that request. A er reviewing each of Plain ﬀs’ 103 redacted
documents, we iden fied 89 documents for which we could not determine the nature of the asserted privilege. As we
stated in that le er, the documents do not “reflect privileged a orney‐client communica on, a orney work product, or
any other protected informa on,” either because they “do not appear to reference any a orney in the document,”
“appear to be third‐party documents,” or “do not, from context, clearly reflect legal advice at each redac on.”

On October 23, you stated that you “have not determined that any of them are inappropriate” because “many of them
relate to redac on of IP strategy informed by counsel” and—without ci ng any Bates numbers—asserted that the
spreadsheets and a subset of the presenta ons we iden fied reflected legal advice. This was conclusory and also did
not address most of the documents which we iden fied as “not appear[ing] to reference any a orney,” “appear[ing] to
be third‐party documents,” or “not, from context, clearly reflect[ing] legal advice at each redac ons.” Our request is
within the ambit of Paragraph 1(f)(iii) of the ESI order.

Please let us know if you will promptly supplement. If not, please let us know when you are available to meet and
confer.

Thank you,
Karthik




                              Karthik R. Kasaraneni | Associate, Litigation Department
                              Paul Hastings LLP | 2050 M Street NW, Washington, DC 20036 | Direct: +1.202.551.190
                              Main: +1.202.551.1700 | Fax: +1.202.551.0401 | karthikkasaraneni@paulhastings.com
                              www.paulhastings.com



From: Adams, Wendy K. <wendyadams@paulhastings.com>
Sent: Monday, October 30, 2023 9:30 PM
To: 'Curtis, Annaleigh' <Annaleigh.Curtis@wilmerhale.com>; 'McMahon, Liz' <Liz.McMahon@wilmerhale.com>
Cc: WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>; lbromberg@mccarter.com; ebelt@mccarter.com;
wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>; Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn
<KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon <sghosh@wc.com>; Tavares, Julie
<jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson, Haylee <HAnderson@wc.com>;
Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com; Wexler, Bruce M.
<brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young J.
<youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; Hilgar, Rebecca A.
<rebeccahilgar@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Subject: RE: Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence

Hi Annaleigh and Liz,

Per my phone call with Liz on Friday, this will confirm the following:
                                                               3
                                                                                                                                                                    Case 1:22-cv-11378-RGS Document 227-36 Filed 02/21/24 Page 6 of 7


                                          1. BioNTech previously provided a metadata overlay for BNT_COMIR_002 on October 2. The provided metadata is
                                             compliant with the ESI order.
                                          2. BioNTech provided .dat files for BNT_COMIR_001 and BNT_COMIR_014 earlier today. These .dat files contain
                                             basic metadata and a custodial value. No other metadata was provided since these documents are scans of hard
                                             copy materials.

Please let me know if you have any further ques ons.

Best regards,
Wendy




                                                                                                                                                                                                                                                  Wendy K. Adams | Paralegal Coordinator, IP Life Sciences, Litigation
                                                                                                                                                                                                                                                  Paul Hastings LLP | 200 Park Avenue, New York, NY 10166 | Direct: +1.212.318.6501 | M
                                                                                                                                                                                                                                                  +1.212.318.6000 | Fax: +1.212.230.5101 | wendyadams@paulhastings.com |
                                                                                                                                                                                                                                                  www.paulhastings.com



From: Curtis, Annaleigh <Annaleigh.Curtis@wilmerhale.com>
Sent: Monday, October 23, 2023 2:49 PM
To: lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby, Thomas <TSelby@wc.com>;
Fisher, Stanley <SFisher@wc.com>; Kayali, Kathryn <KKayali@wc.com>; Liu, Michael <mliu@wc.com>; Ghosh, Shayon
<sghosh@wc.com>; Tavares, Julie <jtavares@wc.com>; Anderson, Derrick <danderson@wc.com>; Bernal Anderson,
Haylee <HAnderson@wc.com>; Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com; Gregory.Boucher@saul.com;
Wexler, Bruce M. <brucewexler@paulhastings.com>; Dittmann, Eric W. <ericdittmann@paulhastings.com>; Park, Young
J. <youngpark@paulhastings.com>; Kung, Simon <simonkung@paulhastings.com>; Hilgar, Rebecca A.
<rebeccahilgar@paulhastings.com>; Minniti, Carl <carlminniti@paulhastings.com>; Meuth, Ryan
<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'; 'APodoll@wc.com'
Cc: WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>
Subject: [EXT] Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐Correspondence
Counsel: Please see the a ached correspondence. Best, Annaleigh Annaleigh E. Cur s | WilmerHale She/Her/Hers 60 State Street Boston, MA 02109 USA +1 617 526 6694 (t) +1 617 526 5000 (f) annaleigh. cur s@ wilmerhale. com Please consider the
ZjQcmQRYFpfptBannerStart




                        --- External Email ---

ZjQcmQRYFpfptBannerEnd




Counsel:

Please see the a ached correspondence.

Best,
Annaleigh

Annaleigh E. Curtis | WilmerHale
She/Her/Hers
60 State Street
Boston, MA 02109 USA
+1 617 526 6694 (t)
                                                                                                                                                                                                                                                                            4
                    Case 1:22-cv-11378-RGS Document 227-36 Filed 02/21/24 Page 7 of 7

+1 617 526 5000 (f)
annaleigh.curtis@wilmerhale.com

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